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MICHAEL DARDASHTIAN, individually and
                                                      DATE FILED:   6/~/ a_   J
on behalf of COOPER SQUARE VENTURES,
LLC, NDAP, LLC and CHANNELREPLY, LLC

                       Plaintiffs,                   17 Civ. 4327 (LLS)

           - against -                                     ORDER

DAVID GITMAN, JEREMY FALK, SUMMIT
ROCK HOLDINGS, LLC, ACCEL COMMERCE,
LLC, DALVA VENTURES, LLC,
KONSTANTYN BAGAIEV, OLESKSII
GLUKHAREV and CHANNEL REPLY, INC.
                    Defendants.
                                  - -X

     After hearing the parties on June 19 and 21, the orders issued

by Judge Ramos on June 8 and 9,        and this court on June 19, 2017

shall remain in full force and effect until further order.

     So ordered.

Dated: New York, New York
       June 21, 2017



                                               LOUIS L. STANTON
                                                    U.S.D.J.
